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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                             8:16-CR-213

vs.
                                                          ORDER
ELKHORN LAWN CARE, L.L.C.,

                 Defendant.

       This matter is before the Court on the plaintiff's motion for dismissal
(filing 39). Pursuant to Fed. R. Crim. P. 48(a), leave of court is granted for
dismissal of the indictment, without prejudice, as it relates to defendants
James Manske and Alex Pearson.

      IT IS ORDERED:

      1.   The plaintiff's motion for dismissal (filing 39) is granted.

      2.   This case is dismissed as to defendants James Manske and
           Alex Pearson.

      3.   This case shall remain pending as to defendant Elkhorn
           Lawn Care, L.L.C.

      Dated this 6th day of February, 2017.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge
